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                            UNITED STATES DISTRICT COURT

                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA
                                                      CRIM.      NO.    lO-85l(DMC)
               V.




      THOMAS LEONARDIS                                    ORDER MODIFYING
                                                       CONDITIONS OF RELEASE




      THIS MATTER having            been    opened         to    the     Court      by    defendant,

THOMAS LEONARDIS,           through his attorney Michael N.                     Pedicini,         Esq.,

in the presence of the United States of America,                                   (Assistant U.S.

Attorney Anthony J. Mahajan               appearing>            for an Order modifying the

defendant’s conditions of release and the Court having considered

the   moving        papers    and   arguments         of    counsel          and    for    good     and

sufficient cause shown;




      IT IS on this                         day of                                   ,   2012;



      HEREBY ORDERED that defendant shall be permitted to attend the

wedding of the daughter of Nicholas Atria at the Riverview Yacht

Club located Long Beach,            Long Island,           New York;          and it is further

      ORDERED        that    defendant’s        conditions         of    release         barring    any

contact with individuals or entities of the New York or New Jersey

waterfronts         be   modified    so    as    to    permit          the   defendant       to    have

contact   with        those    individuals        who      may    be     associated         with    the
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waterfront who are not witnesses in the pending matter and who have

initiated contact with defendant;            and it is further

     ORDERED     that   all    other   conditions      of      release   heretofore

imposed shall remain in full force and effect until further Order

of this Court.




                                              UNITED   STATES                  JUDGE
